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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. : Case No. 1:21-cr-267-CRC

BRYAN WAYNE IVEY

Defendant.
STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA

1. The Government respectfully submits the following Statement of Offense in
support of a plea of guilty by defendant BRYAN WAYNE IVEY (hereinafter “IVEY”) to Count
Four of the Information in the above-captioned matter.

2. If this case were to go to trial, the government would prove the following facts
beyond a reasonable doubt:

3. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

4. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
5. On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November
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3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

6. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

7. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

8. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.
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9. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

10. IVEY traveled to Washington, D.C. on January 6, 2021, in order to attend the
“Stop the Steal” rally. However, IVEY did not attend the protest because it was too crowded and
instead joined a large crowd around the U.S. Capitol. After the police line and metal barricades
were breached, IVEY walked towards the Senate Wing Door, where he watched another rioter
break through the window immediately adjacent to the Senate Wing Door using a riot shield.

11. | IWEY entered the Capitol through the breached window. IVEY was aware that he
was not authorized to be inside of the Capitol. Once inside, [vey watched other rioters kick open
the Senate Wing Door. Ivey stood at the door and waved additional rioters into the Capitol
Building.

12. IVEY spent approximately 35 minutes inside the Capitol, the majority of which

was spent inside the Rotunda. IVEY recorded multiple videos during this time. [VEY then
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deleted all of the photos and videos from his cell phone that were taken outside of and inside of

the Capitol on January 6, 2021.

Respectfully submitted,

Channing D. Phillips
Acting U.S. Attorney
D.C. Bar No. 415793

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LESLIE A. GOQEMAAT

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Defendant’s Acceptance
| have read this Statement of Offense and carefully reviewed every part of it with my
attorney. 1am fully satisfied with the legal services provided by my attorney in connection with
this Statement of Offense and all matters relating to it. | fully understand this Statement of
Offense and voluntarily agree to it. No threats have been made to me, nor am | under the

influence of anything that could impede my ability to understand this Statement of Offense fully.

6-15-31 bat bt. Loe.

Date BRYAN WAYNE IVEX”
Defendant

Defense Counsel’s Acknowledgment
lam Defendant BRYAN WAYNE IVEY’S attorney. | have reviewed every part of this
Statement of Offense with her. It accurately and completely sets forth the Statement of Offense

agreed to by the defendant and the Office of the United States Attorney for the District of

 

 

Columbia.
Date R. David Baker

Attorney for Defendant
